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RoBERT E. (“Boa”) GivEN,
dib/a R.J.R. PAiNTiNG,

Piaintiff,
Civi| Action No. 05-2136 B P

V.

R & R N|ANAGEMENT, LLC,

~_.»¢~_¢\-.¢~_¢\_d‘_r~_d*~_¢‘-r'-v'-d

Defendant.

 

 
    

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-:il ORDER GRANTING
N|OT|ON TO EXPED|TE

 

This matter came to be heard upon the defendants motion to expedite and the
entire record in this cause and the Court finds that the motion is We||-taken and shouid be
granted

|T |S, THEREFORE, ORDERED, ADJUDGED AND DECREED that the defendant’S

motion to expedite is granted. /%M

D TR|CT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:05-CV-02136 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

